     CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 1 of 15



                         UNITED STATES DISTRICT COURT

                                  DISTRICT OF MINNESOTA

Jonathon Ziesmer,                              Court File No. 12-CV-03031 (PAM/JJK)

                     Plaintiff,

      vs.                                     DEFENDANT’S MEMORANDUM OF
                                                        LAW IN SUPPORT OF
Derrick Lee Hagen,                                      MOTIONS IN LIMINE

                     Defendant.


                                     INTRODUCTION

      In this Section 1983 lawsuit, Plaintiff Jonathon Ziesmer (“Plaintiff”) alleges that

Defendant State Trooper Derrick Lee Hagen (“Trooper Hagen”) used excessive force

during a roadside encounter on August 22, 2010. As detailed in Defendant’s Motions in

Limine (Doc. No. 65) Trooper Hagen seeks an order from the Court as follows:

      1. Prohibiting Plaintiff from introducing testimony from any of his treating
         physicians or other medical personnel;

      2. Prohibiting Plaintiff and any non-expert witnesses from introducing testimony
         that Plaintiff has any specific medical condition he allegedly or that such
         medical condition was caused by Trooper Hagen’s alleged actions;

      3. Prohibiting Plaintiff from introducing any evidence or eliciting any testimony
         during the trial of this case referring to the dismissal of the criminal charges
         against Plaintiff;

      4. Prohibiting Plaintiff from introducing any evidence or argument that Plaintiff
         has any sort of medical, cognitive, emotional, behavioral, learning, or other
         difficulties as a result of Alpha 1 Antitrypsin Deficiency;

      5. Prohibiting Plaintiff from introducing any evidence referring to the Minnesota
         State Patrol’s defense and indemnification of Trooper Hagen;
     CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 2 of 15



       6. Prohibiting introduction of any evidence of Minnesota State Patrol policies or
          procedures;

       7. Prohibiting introduction of any evidence or argument of publicized events of
          police misconduct; and

       8. Sequestering non-party witnesses from opening statements and the testimony
          of other witnesses.

                                        ARGUMENT

I.     PLAINTIFF’S TREATING PHYSICIANS SHOULD BE BARRED FROM
       TESTIFYING.

       Pursuant to Federal Rule of Civil Procedure 37(c)(1), testimony of Plaintiff’s

treating physicians should be excluded because Plaintiff has never identified experts that

he will call at trial. Where “a party fails to provide information or identify a witness as

required by Rule 26(a) . . ., the party is not allowed to use that information or witness to

supply evidence . . . at a trial, unless the failure was substantially justified or is harmless.”

Fed. R. Civ. P. 37(c)(1).      Plaintiff’s omission is highly prejudicial and his treating

physicians or other medical personnel should be barred from testifying.

       Federal Rule of Civil Procedure 26(a)(2)(A) states that “[i]n addition to the

disclosures required by Rule 26(a)(1), a party must disclose to the other parties the

identity of any witness it may use at trial to present evidence under Federal Rule of

Evidence 702 . . . .” Although expert witnesses “retained or specially employed to

provide expert testimony” must provide a report under Federal Rule of Civil Procedure

26(a)(2)(B), witnesses not required to provide a written report must still be identified in a

disclosure stating “(i) the subject matter on which the witness is expected to present




                                               2
     CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 3 of 15



evidence under Federal Rule of Evidence 702           . . .; and (ii) a summary of the facts and

opinions to which the witness is expected to testify.” Fed. R. Civ. P. 26(a)(2)(C).

       No such disclosure was made in this case and Plaintiff cannot now rely on treating

physicians he has not identified as experts expected to give testimony.             (Plaintiff’s

Answers to Defendant’s First Set of Interrogatories (“Pl.’s Ans. Int.”), attached to the

Affidavit of Kathryn Fodness (Doc. No. 38) as Ex. 7 at 5-6.)

       Plaintiff has not served any expert reports or disclosures under the Rules of Civil

Procedure. (Fodness Aff. ¶ 15.) Pursuant to the Court’s Order to Modify Pretrial

Scheduling Order, “[d]isclosure of the identities of expert witnesses under Fed. R. Civ. P.

26(a)(2)(A) and full disclosures under Rule 26(a)(2)(B), accompanied by written reports

prepared and signed by the expert witness,” were due on or before December 31, 2013.

(Order Mod. Pretr. Sched. Order (Doc. 15) at 2.) Rebuttal experts and reports were due

on or before February 2, 2014. (Id.) In addition, in Trooper Hagen’s Interrogatories to

Plaintiff, Plaintiff was specifically asked to:

               Identify each person you expect to call as an expert witness at the
       trial of this case, and, with respect to each such person, state the following:

              a.      The subject matter on which the person is expected to testify;

              b.      The substance of the facts to which the person is expected to
                      testify;

              b.      The substance of all opinions to which the person is expected
                      to testify;

              c.      The grounds for each opinion; and

              e.      All documents you provided to or received from the expert in
                      connection with this matter.


                                                  3
     CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 4 of 15




(Id.) Plaintiff’s failure to identify a treating physician who will testify at trial was

litigated on summary judgment. Plaintiff at no point attempted to modify his disclosure or

discovery responses to identify an expert at trial. (See generally Def.’s Mem. Supp.

Summ. Judg. (Doc. No. 37).)

       The Seventh Circuit has explained that failing to identify expert witnesses under

Rules of Civil Procedure is not a mere technical formality, reasoning that:

       Formal disclosure of experts is not pointless. Knowing the identity of the
       opponent’s expert witnesses allows a party to properly prepare for trial.
       [The defendant] should not be made to assume that each witness disclosed
       by the [other party] could be an expert witness at trial. The failure to
       disclose experts prejudiced [the defendant] because there are
       countermeasures that could have been taken that are not applicable to fact
       witnesses, such as attempting to disqualify the expert testimony on grounds
       set forth in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
       (1993), retaining rebuttal experts, and holding additional depositions to
       retrieve the information not available because of the absence of a report. In
       sum, we agree with the district court that even treating physicians and
       treating nurses must be designated as experts if they are to provide expert
       testimony.

Musser v. Gentiva Health Servs., 356 F.3d 751, 757-58 (7th Cir. 2004) (citations

omitted).

       Yet Plaintiff’s medical records reveal he has seen at least six medical providers,

including orthopedic surgeons, primary care physicians, and a nurse practitioner.

Defendant does not know if or which of these medical providers Plaintiff intends to call

for trial.   With a trial deposition of Defendant’s medical expert, Dr. Jack Drogt,

scheduled for July 30, 2015, and trial set to begin on August 3, 2015, Defendant is

severely prejudiced by this non-disclosure. Plaintiff’s failure to comply with disclosure



                                             4
     CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 5 of 15



rules for experts significantly impacts Defendant’s ability to present appropriate trial

deposition testimony of Dr. Drogt related to Plaintiff’s previous medical treatment. It

also prevents Defendant from preparing to question at trial any of the treatment providers

Plaintiff visited for his purported pain, should one be called.

       The prejudice to Defendant would be even greater if Plaintiff attempted to elicit

testimony regarding causation from his treating physicians or other medical providers.

There is no indication in Plaintiff’s medical records that he has been diagnosed with any

particular medical condition, let alone a condition attributable to the types of force he

alleges here. (Def.’s Mem. Supp. Summ. Judg. at 18-19 (citing the record).) There is

similarly no notation in his medical records that any of his treating physicians or other

medical providers made any independent investigation into the cause of Plaintiff’s

purported pain. (See id.) As previously discussed, no disclosure related to causation was

made in this case and Plaintiff cannot now rely on treating physicians he has not

identified as experts expected to give testimony related to causation or potential causation

for his complaints of pain. See, e.g., Brooks v. Union Pac. R.R., 620 F.3d 896, 899-900

(8th Cir. 2010) (explaining that a treating physician is subject to the Rule 26(a)(2)(B)

disclosure requirements when offering an opinion as to causation); Schiffler v. Home

Depot USA, Inc., No. CIV. 07-4303 JRT/LIB, 2013 WL 980334, at *6 (D. Minn. Feb. 15,

2013), report & recommendation adopted, No. CIV. 07-4303 JRT/LIB, 2013 WL 980330

(D. Minn. Mar. 13, 2013) (holding that a formal written expert report must be provided

where a treating physician will testify to matters outside of direct observations in

treatment); Zarecki v. Nat’l R.R. Passenger Corp., 914 F. Supp. 1566, 1573 (N.D. Ill.


                                              5
      CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 6 of 15



1996) (Castillo, J.) (holding that where opinions regarding causation are not derived from

a physician’s treatment of the patient, such opinions must be identified by formal report

as information obtained in preparation for trial).

II.    PLAINTIFF’S TESTIMONY LINKING HIS ALLEGED “PAIN” TO ANY
       SPECIFIC MEDICAL CONDITION OR MEDICAL FINDING SHOULD
       BE EXCLUDED.

       Federal Rule of Evidence 701 proscribes the scope of opinion testimony of a lay

witness, stating: “If the witness is not testifying as an expert, the witness’ testimony in

the form of opinions or inferences is limited to those opinions or inferences which are (a)

rationally based on the perception of the witness and (b) helpful to a clear understanding

of the witness’ testimony or the determination of a fact in issue.” Fed. R. Evid. 701.

       While Plaintiff may be able to testify that he has experienced “pain” after his

alleged encounter with Trooper Hagen, Plaintiff is unqualified to diagnose himself with

any particular injury or medical condition. See Haack v. Bongiorno, No. 08 C 02488,

2011 WL 862239 (N.D. Ill. Mar. 4, 2011) (Nolan, J.) (holding that an individual cannot

offer a detailed “medical diagnosis (or self-diagnosis)” of his injuries beyond a mere

comparison of his own subjective perceptions of health and pain). Plaintiff has admitted

that he does not have even a lay understanding of his claimed medical conditions and

cannot state whether he has ever received a medical diagnosis. (Deposition of Jonathon

Ziesmer (“Ziesmer Dep.”), attached to the Fodness Aff. at Ex. 2 at 105-12.)

       Plaintiff is similarly unqualified to testify to a causal link between any such

diagnosis that he suspects may apply to him or may have been communicated to him by a

competent medical professional. See, e.g., Larsen v. Barrientes, No. 1:09-cv-55, 2010


                                              6
       CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 7 of 15



WL 2772325, at *4 (N.D. Ind. July 12, 2010) (Cosbey, J.) (citation omitted) (stating that

“[n]o [lay] witness . . . shall be permitted to opine that the arrest proximately caused [the

plaintiff]’s mental and physical health problems or offer a medical diagnosis of his

alleged injuries”). Plaintiff and his other lay witnesses should be prohibited from

testifying as to the causation of Plaintiff’s alleged injuries based upon lack of foundation.

See generally id.; Fed. R. Civ. P. 602. Lay witnesses should also be prohibited from

repeating any provider’s alleged diagnosis or potential diagnosis because such testimony

would be inadmissible hearsay. Fed. R. Civ. P. 801, 802.

III.    ANY REFERENCE TO THE DISMISSAL OF THE CITATION ISSUED
        TO PLAINTIFF FOR POSSESSION OF MARIJUANA AND POSSESSION
        OF DRUG PARAPHERNALIA SHOULD BE EXCLUDED.

        Plaintiff was charged with Possession of Marijuana and Possession of Drug

Paraphernalia. Charges against Plaintiff were dismissed. The dismissal of those charges

has no bearing on whether or not Trooper Hagen had an objective basis to detain Plaintiff

or use force to detain Plaintiff. See, e.g., Currier v. Baldridge, 914 F.2d 993, 996 (7th

Cir. 1990) (stating that “the mere fact that [the plaintiff] was acquitted of the crime for

which he was initially arrested does not lead to section 1983 liability for the arresting

officer . . . .”).

        Regardless of whether or not the charges against Plaintiff were dismissed, the

judgment of the criminal proceedings would be irrelevant under Federal Rule of Evidence

401 and would be unfairly prejudicial under Federal Rule of Evidence 403. Presentation

of such evidence would run afoul of the general rule of admissibility of criminal

judgments in a civil case that arise out of the same facts. “The general rule of the


                                             7
      CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 8 of 15



common law is that a judgment in a criminal proceeding cannot be read in evidence in a

civil action to establish any fact there determined. The reason for this rule is, primarily,

that the parties are not the same, and, secondarily, that different rules of evidence are

applicable.” Chantangco v. Abaroa, 218 U.S. 476, 481 (1910).

        Finally, there is simply no competent evidence in the record indicating the reason

for the decision made by the St. Paul City Attorney’s Office to dismiss the citation. The

fact that the attorney assigned to the criminal prosecution did not pursue the criminal case

against Plaintiff could lead to any number of conclusions. Any reference by Plaintiff, his

counsel, or the witnesses Plaintiff has identified during the course of this litigation to the

decision to dismiss the criminal case would be without foundation and be hearsay.

IV.     ANY REFERENCE TO ANY MEDICAL, COGNITIVE, EMOTIONAL,
        BEHAVIORAL, LEARNING, OR OTHER DIFFICULTIES SUFFERED BY
        PLAINTIFF AS A RESULT OF ALPHA 1 ANTITRYPSIN DEFICIENCY
        SHOULD BE EXCLUDED.

        Plaintiff and lay witnesses, including his mother, Susan Leuthard Ziesmer, and his

counsel should be barred from arguing, testifying, or offering any evidence that Plaintiff

has any medical, cognitive, emotional, behavioral, or other difficulties as a result of his

diagnosis of Alpha-1 antitrypsin deficiency (“AAT deficiency”).

        AAT deficiency “is a condition that raises [an individual’s] risk for certain types

of lung disease . . . . and other diseases.” Alpha-1 Antitrypsin Deficiency, National Heart,

Lung,    and    Blood    Institute   (last   updated   June    11,   2014),    available    at

http://www.ncbi.nlm.nih.gov/pubmedhealth/PMH0062929/ (last accessed July 20, 2015).

Individuals with “severe AAT deficiency develop emphysema” in their forties or fifties



                                              8
     CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 9 of 15



and “[a] small number . . . develop cirrhosis and other serious liver diseases.” Id.

Symptoms of AAT include lung-related symptoms such as shortness of breath, decreased

physical abilities, wheezing, and coughing. Id.

       Plaintiff testified under oath about the ways in which his AAT diagnosis affects

him at his deposition, stating:

       Q     I saw somewhere in your medical records something about Alpha 1
       Antitrypsin Deficiency . . . .
       A Yeah, Antitrypsin Deficiency.
       Q Is that something that you have?
       A Yes.
       Q What does that do?
       A I know it's a lung and liver disease.
       Q What does it do to your lungs and liver?
       A I'm not sure. When I was younger they -- I would get blood tested
       every year to make sure all -- everything in my blood and my body is
       working right.
       Q Is part of the concern with this that it causes emphysema?
       A I've heard some people it can cause emphysema. They're still trying to
       learn more about the disease and how it affects different people because
       there's so many different kinds of Alpha 1.
       Q Is this something you monitor regularly when you go to the doctor?
       A It was monitored every single year until I was about 18, and then they
       said it would be a couple years till I would need to be checked out again.
       Q Have you followed up on that since you were 18?
       A I haven't looked into it since then.

(Ziesmer Dep. at 138-39.) Plaintiff never stated that he believes his diagnosis of AAT

impairs his ability to think, communicate express himself, or engage in any day-to-day

activity. (See generally Ziesmer Dep.)

       Plaintiff has indicated that he will rely on testimony from his mother to establish

that his AAT has certain unspecified effects on him. This testimony and any testimony

related to the impacts that AAT has on Plaintiff – whether they are emotional, behavioral,



                                            9
    CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 10 of 15



cognitive, physical, or otherwise – should be excluded at trial. First, such testimony is

irrelevant. See Fed. R. Civ. P. 401 (stating that “[e]vidence is relevant if: (a) it has any

tendency to make a fact more or less probable than it would be without the evidence; and

(b) the fact is of consequence in determining the action”). Plaintiff’s AAT is irrelevant to

consideration of Plaintiff’s excessive force claim under Section 1983. Rather, the sole

reason for such testimony appears to be the impermissible purpose of bolstering his own

testimony and eliciting an emotional response from the jury.

       Second, Plaintiff has maintained that his mental health and educational records are

irrelevant to this action.   During the course of discovery, Defendant requested, and

ultimately brought a motion to compel, seeking Plaintiff’s mental health records and

educational records. (Doc. No. 16.) Plaintiff objected to the production of these records,

noting that he would stipulate to seek only “garden variety” emotional distress damages

at trial and that he has in no way placed his mental condition in controversy. (Plf.’s

Mem. Opp. Mot. to Compel (Doc. No. 33) at 3-4.)

       Plaintiff similarly objected to production of his educational records, noting that his

educational records were irrelevant. (Id. at 4-5.) To the extent that Plaintiff now intends

to rely on a medical diagnosis to claim that he has a learning disability as a result of, that

his speech or affect is impacted by, or that he has some other cognitive, emotional,

behavioral, or mental health impact from ATA, such testimony should be barred.

Testimony or argument on this matter is highly prejudicial in light of the fact that

Trooper Hagen has not had an opportunity to explore documents that likely shed light on




                                             10
     CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 11 of 15



Plaintiff’s mental or cognitive condition and may contain information that directly

contradicts the testimony he intends to offer at trial.

       Third, neither Plaintiff nor his mother are qualified to testify about how a lung or

liver disease affect Plaintiff’s cognition emotional or behavioral health. Whether or how

a lung or liver disease affect Plaintiff in his cognition, affect, behavioral health, mental

health, or emotional responses are precisely the types of testimony that require expert

testimony.

       Finally, even if such evidence were relevant, its probative value is substantially

outweighed by a danger of unfair prejudice, confusing the issues, misleading the jury, and

wasting time. See Fed. R. Evid. 403. By offering general testimony that Plaintiff’s affect

or response to certain situations are detrimentally impacted by ATA, Plaintiff apparently

seeks to garner the sympathy of the jury, expand the scope of the trial, and confuse the

issues presented to the jury.

V.     ALL EVIDENCE OR ARGUMENT RELATING TO THE MINNESOTA
       STATE PATROL’S INDEMNIFICATION OF TROOPER HAGEN
       SHOULD BE EXCLUDED.

       Plaintiff should be barred from arguing, implying, or mentioning directly that the

Minnesota State Patrol will indemnify Trooper Hagen for any award of damages. As a

general matter, whether a party is protected from personal financial liability “by

insurance or other indemnity cannot be shown.” Halladay v. Verschoor, 381 F.2d 100,

112 (8th Cir. 1967) (citations omitted) (stating that “the parties are entitled to have the

issues determined on their merits and the injection of . . . indemnity . . . is utterly

repugnant to a fair trial or to the security of . . . a just verdict”). Cf. Green v. Baron, 879


                                              11
      CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 12 of 15



F.2d 305, 310 (8th Cir. 1989) (holding that it is error and “extremely prejudicial” for a

court to instruct a jury that a government employer will indemnify an individually-named

employee).

       The Eighth Circuit’s opinion in Griffin v. Hilke, 804 F.2d 1052 (8th Cir. 1986),

cert. denied, 482 U.S. 914 (1987) is instructive. There, the Court concluded that it was

reversible error for a district court to allow a plaintiff in a Section 1983 case to argue that

police officers were indemnified by their government employer. Id. at 1057-1058. The

Court reasoned that such argument is prejudicial, stating that “the jury’s apprehension

that the government would be responsible for paying damages could result in an overly

generous award of damages.” Id. at 1058.

       Plaintiff should be prohibited from introducing evidence or arguing that Trooper

Hagen is indemnified or that the Minnesota State Patrol or the government should pay for

his conduct. Such evidence or argument irrelevant, would needlessly complicate the

issues before the jury, and would be extremely prejudicial to Trooper Hagen.

VI.    EVIDENCE OF STATE PATROL POLICIES OR PROCEDURES
       SHOULD BE EXCLUDED AS IRRELEVANT, CONFUSING, AND
       UNFAIRLY PREJUDICIAL.

       To the extent that Plaintiff seeks to introduce testimony or other evidence of the

State Patrol’s policies at trial, such testimony and evidence is improper under Federal

Rules of Evidence 401, 402, and 403. It is axiomatic that “the issue [in Section 1983

cases] is whether the government official violated the Constitution or federal law, not

whether he violated the policies of a state agency.” Cole v. Bone, 993 F.2d 1328, 1334

(8th Cir. 1993). Actions that violate “some state statutory or administrative provision”


                                              12
       CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 13 of 15



are not necessarily constitutionally unreasonable. Id. (citation omitted). Even if the jury

were to find that Trooper Hagen somehow violated State Patrol policy in some manner,

such evidence is irrelevant to determining whether his actions violated the U.S.

Constitution or federal law. On the contrary, State Patrol policy may establish a higher

standard of conduct on its officers that exceeds the minimum guaranteed by law.

Introduction of evidence or argument that Trooper Hagen violated his employer’s policy

is irrelevant and only serves to confuse the issues and prejudice Trooper Hagen.

VII.    PLAINTIFF SHOULD BE BARRED FROM ANY TESTIMONY,
        EVIDENCE, ARGUMENTS, OR COMMENTS REGARDING OTHER
        EVENTS INVOLVING ALLEGATIONS OF POLICE MISCONDUCT.

        Any testimony, evidence, argument or comments regarding any publicized events

of police misconduct should be barred. See Fed R. Civ. P. 401, 402, 403. Comments and

implied references to police misconduct and/or allegations of police misconduct outside

of this case have no probative value and are irrelevant. Moreover, references to incidents

of police misconduct and/or allegations of police misconduct involving officers and law

enforcement agencies across the United States are highly prejudicial. Such references

serve only to inflame the passions of the jury against law enforcement in general and

Trooper Hagen specifically. As such, Trooper Hagen respectfully requests that the Court

enter an order providing that Plaintiff, his attorneys, and his witnesses are barred from

mentioning, referring to, interrogating or questioning, introducing or arguing from

unrelated events of police misconduct.




                                            13
    CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 14 of 15



VIII. ALL NON-PARTY WITNESSES SHOULD BE EXCLUDED FROM THE
      COURTROOM DURING OPENING STATEMENTS AND TRIAL
      TESTIMONY.

       Pursuant to Federal Rule of Evidence 615, Trooper Hagen requests that the Court

exclude all witnesses, other than the parties, from the courtroom during opening

statements and testimony of any and all other witnesses. Such order is proper because it

prevents the contamination of the testimony of potential witnesses. See, e.g., U.S. v.

Collins, 340 F.3d 672, 681 (8th Cir. 2003) (citations omitted) (stating that “[t]he purpose

of sequestration is to prevent witnesses from tailoring their testimony to that of prior

witnesses and to aid in detection of dishonesty).

                                     CONCLUSION

       For the foregoing reasons, Trooper Hagen respectfully requests that the Court

grant his motions in limine.

                                  Signature on Page 15




                                            14
    CASE 0:12-cv-03031-PAM-JJK Document 66 Filed 07/20/15 Page 15 of 15



Dated: July 20, 2015                 Respectfully submitted,

                                     OFFICE OF THE ATTORNEY GENERAL
                                     State of Minnesota

                                     s/ Kathryn A. Fodness
                                     Kathryn A. Fodness
                                     Assistant Attorney General
                                     Atty. Reg. No. 0392184
                                     kathryn.fodness@ag.state.mn.us

                                     Eric V. Brown
                                     Assistant Attorney General
                                     Atty. Reg. No. 0393078
                                     eric.brown@ag.state.mn.us

                                     445 Minnesota Street, Suite 1100
                                     St. Paul, MN 55101-2128
                                     Telephone: (651) 757-1348
                                     Fax: (651) 282-5832

                                     Attorneys for Defendant




                                    15
